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              EXHIBIT 14
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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

BRIANNA BOE, et al.,                     )
                                         )
        Plaintiffs,                      )
                                         )
UNITED STATES OF AMERICA,                )
                                         )
        Intervenor Plaintiff,            )
                                         )
v.                                       ) Civil Action No. 2:22-cv-184-LCB
                                         )
HON. STEVE MARSHALL, in his              )
Official capacity as Attorney General,   )
of the State of Alabama, et al.,         )
                                         )
        Defendants.                      )

                      SUPPLEMENTAL EXPERT REPORT OF
                           DR. FARR CURLIN, M.D.
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I.      CREDENTIALS

      1.     I am the Josiah C. Trent Professor of Medical Humanities in the Trent
Center for Bioethics, Humanities, and History of Medicine, and Professor in the
Department of Medicine, at Duke University. I am also Co-Director of the Theology,
Medicine, and Culture Initiative at Duke Divinity School and Senior Fellow in Duke
University’s Kenan Institute for Ethics. Prior to joining the Duke University faculty
in January 2014, I served on the faculty of the University of Chicago.

      2.     I am licensed to practice medicine and maintain medical licensure in
the State of North Carolina. I am an internist with board certification in Internal
Medicine, as well as subspecialty board certification in Hospice and Palliative
Medicine. From 2001 to 2013, I practiced general internal medicine, maintaining an
outpatient primary care clinic from 2001 to 2008, and attending on the inpatient
wards at the University of Chicago Hospitals from 2003 until I moved to Duke
University at the end of 2013. Since January 2014, I have served as a palliative
medicine consultant and hospice physician at Duke University.

      3.     I completed a fellowship in clinical medical ethics at the University of
Chicago, and I have served on the medical ethics faculties of the University of
Chicago and Duke University for 19 years, providing clinical ethics consultations (at
the University of Chicago), attending regular ethics case conferences, teaching
medical ethics, and completing research studies and other scholarly work regarding
medical ethics. In addition, I was named to the Greenwall Foundation Faculty
Scholars Program in Bioethics, through which, over the subsequent decade, I met
numerous times with a community of leading scholars in bioethics.

       4.     My work on medical ethics has included peer-reviewed publications,
invitations to lecture at universities nationwide and internationally, and being
asked to speak as an expert before national advisory bodies. I have received awards
in bioethics. My training, research, and experience give me familiarity with
professional ethical norms regarding clinical medicine—their content, history, and
application to clinical contexts, including the context of “gender affirmation.” As
reflected in my CV, I have published an academic book that addresses, and have
given invited talks at a major medical school concerning, ethical issues surrounding
transgender medicine.

       5.    In addition, I completed a two-year postdoctoral fellowship in health
services research at the University of Chicago, and I have spent a substantial
portion of my time since then conducting and publishing empirical research,
including research on physicians’ attitudes and practices regarding controversial
practices. This training and experience give me added expertise in interpreting and
applying scientific data to clinical contexts. My credentials and experience are
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documented in further detail in my curriculum vitae, which I attach as Appendix B
to this Report.

       6.    This report presents my independent, expert opinions based on my
study, training, and experience as a physician, biomedical ethicist, and health
services researcher; my review of relevant scholarly literature; and my discussions
over the years with colleagues in medicine and bioethics. I do not speak herein for
Duke University, nor is the affidavit intended to represent the opinions or policies
of Duke University. I am being compensated for my time spent on this matter at a
rate of $500 per hour, and $250 per hour for time spent on travel required to give
testimony.

      7.    My most recent curriculum vitae, which lists my publications and my
testimony provided within the last four years, is provided as Appendix B to this
Report.

II.       MATERIALS REVIEWED

       8.    As part of my preparation of this report, I have reviewed the materials
listed in Appendix A to this Report.

III.      QUESTIONS ADDRESSED

       9.       Dr. McNamara has asserted that “no institutional review board would
approve a research protocol on a randomized control trial in essential medical
treatment for gender dysphoria because of the established science which
demonstrates the efficacy of treatment with transitioning medications.” (McNamara
Report 20-21.) Similarly, Dr. Antommaria states that “For randomized trials to be
ethical, clinical equipoise must exist; that is, there must be uncertainty about
whether the efficacy of the intervention or the control is greater.” He asserts that a
randomized trial in which the control group does not receive puberty blockers or
cross-sex hormones would be unethical. (Antommaria Report 15-16.)

       10.    More recently, the Intervenor United States, through its agency the
FDA, has issued a letter stating that it would be “reasonable” to include males down
to age 13 in a clinical trial of cross-sex administration of estradiol as a medicalized
gender transition (“MGT”) treatment, 1 while suggesting that such a trial need not
include a placebo control. 2 Meanwhile, the American Academy of Pediatrics (AAP),
which has submitted an amicus brief in this case and which issued the 2018 "Policy
Statement" which Plaintiffs and their experts have cited to this Court, recently



1 In this report I use the term “medicalized gender affirmation” to refer to the use of

puberty blockers and cross-sex hormones in patients experiencing gender dysphoria.
2 https://www.statnews.com/2023/11/28/fda-gender-affirming-care-estrogen-approval/.
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submitted a brief in another litigation addressing restrictions on MGT for minors in
which the AAP asserted:

            ‘[I]n transgender clinical research individual randomized
            controlled trials (RCTs) may not always be feasible or ethically
            acceptable.’ Sari L. Reisner et al., Advancing Methods for U.S.
            Transgender Health Research, 23(2) Curr. Opin. Endocrinal
            Diabetes Obes. 198, 199 (2016). With preexisting guidelines
            that recommend gender-affirming care for those with gender
            dysphoria, randomized controlled trials would violate the
            principle of equipoise, which safeguards the rights of individual
            trial participants. Richard J. Lilford & Jennifer Jackson,
            Equipoise and the Ethics of Randomization, 88 J. R. Soc. Med.
            552, 552 (1995). 3

      11.    Plaintiffs will likely claim that this letter from the FDA and this
statement from the AAP support their experts’ contention that it is unethical to
withhold medical transition from minors.

       12.   I have been asked to give my expert opinion regarding whether
withholding medicalized “gender affirmation” or “gender transition” treatments
(MGT) from minors, whether to provide a control arm in a clinical experiment, or
out of concern for potential harm to the patients, is consistent with the principle of
equipoise in clinical research and other well-established principles of medical ethics.

IV.      SUMMARY OF OPINIONS

      13.    While I set out my opinions throughout this report, I summarize here
key aspects of those opinions.

       14.   I take as a premise, based on the science reviewed and the opinions
offered by Drs. Cantor and Laidlaw, that the mental health benefits that are
claimed to justify the administration of medicalized gender affirmation treatments
to minors are currently unproven and disputed among informed observers. Position
statements from professional associations cannot substitute for scientific evidence.

       15.   I also take it as a premise, based on the science reviewed and the
opinions offered by Drs. Cantor and Laidlaw, that the known or reasonably
anticipated harms to children and adolescents from MGT treatments are
substantial and serious, threatening sterilization, failure to develop healthy sexual



3 Brief of Amicus Curiae American Academy of Pediatrics submitted to the Supreme Court

in Williams et al. v. Skrmetti (No. 23-466) on Petition for a Writ of Certiorari, dated
December 4, 2023, at 22 n. 72.
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response, impaired neurological (brain) development, and multiple other harms to
bodily health.

       16.    There is not a consensus among medical professionals that MGT is
beneficial or suitable for minors. This is amply supported by the published
literature and the evaluations and position statements of a number of national
health authorities of respected jurisdictions. Further, I know from my own
experience and that of professional peers that both what is said and what is
published in this field is severely distorted by what is sometimes referred to as a
“cancel culture,” with professionals fearing for their reputations and even their
employment and livelihoods if they criticize or raise concerns about administration
of MGT to minors, whether in scientific publications or in public discussion.

      17.    It is not possible to conclude that it is known beyond “equipoise” that
MGT is on the whole beneficial for minors who suffer from gender dysphoria.
Therefore, the ethical principle of equipoise does not prohibit including control
groups that receive only psychological counseling but not MGT in studies to
evaluate the benefits and harms of MGT. Nor is there a basis to assert that it is
unethical to withhold MGT from minors in a clinical setting outside the context of
formal clinical experimentation.

      18.     On the contrary, for multiple reasons there is a serious question
whether it is allowable, under accepted principles of medical ethics, to administer
MGT to minors. Based on the descriptions of the available science provided by Dr.
Cantor, Dr. Laidlaw, and position statements from national health authorities, it
appears that animal studies that could give meaningful information about potential
harms of MGT (including sterilization, brain development, bone development, and
cardiovascular health) have not yet been done; that well-designed studies to
evaluate both harms and efficacy have not been conducted; and that plans for
careful long-term monitoring and management of reasonably anticipated risks of
such disruptions of natural hormone levels and bodily maturation and function
have not been identified and followed.

       19.     Further, it is not at all clear that meaningful informed consent for
administration of MGT to minors can be obtained. There are strong reasons to
doubt that minors can adequately appreciate and appropriately weigh the lifetime
implications of sterilization, loss of sexual response, impaired neural development,
and the other potential health and relational impacts identified in the literature,
nor is it apparent that doctors possess (much less consistently disclose) adequate
scientific information about these risks to enable anyone to make meaningfully
informed decisions. Nor do ethical principles give parents unfettered power to
provide effective consent on behalf of their children for medical interventions that
pose such severe risks of irreversible harm to the bodily health of the child
(including sterilization) in the absence of a countervailing and imminent threat of
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bodily harm from a medical condition to be treated. No such imminent threat exists
in the case of minors who experience gender dysphoria.

V.      THE SCIENTIFIC CONTEXT RELEVANT TO ETHICAL ANALYSIS.

        A.    The hoped-for benefits from MGT are unproven.

       20.   I have read the descriptions of the state of knowledge provided in the
expert reports submitted by Drs. Cantor and Laidlaw. I have been asked to and do
assume that the descriptions of the articles and studies that they provide are
accurate for purposes of forming my opinions provided in this case. On that basis, it
is evident that multiple respected health authorities and sources have recently
opined that the safety and efficacy of hormonal interventions to treat gender
dysphoria in minors remain uncertain and unproven. While I rely on Dr. Cantor’s
and Dr. Laidlaw’s descriptions of the scientific literature, I have myself also
reviewed the illustrative examples that I summarize below.

       21.    An extensive review commissioned by England’s National Health
Service and chaired by eminent pediatrician Dr. Hilary Cass concluded that there
has been "very limited research on the sexual, cognitive, or broader developmental
outcomes" from the use of puberty blockers for gender dysphoria (Cass 2022 at 19),
that it is an unanswered question "whether the evidence for the use and safety of
[puberty blockers] is strong enough as judged by reasonable clinical standards"
(Cass 2022 at 37), and that "the available evidence was not strong enough to form
the basis of a policy position" with regard to use of both puberty blockers and cross-
sex hormones in minors (Cass 2022 at 35).

       22.    Systematic reviews of the safety and efficacy of puberty blockers and
cross-sex hormones as treatment for gender dysphoria in minors have been
conducted by the England National Institute for Health & Care Excellence (NICE).
These reviews concluded that available clinical evidence of efficacy and safety in the
relevant population is uniformly of "very low quality." (Cantor ¶¶ 79-84.) "Very low
quality" within the GRADE system of evaluation of medical information means: "We
have very little confidence in the effect estimate: The true effect is likely to be
substantially different from the estimate of effect." (GRADE Handbook at 13
(Section 5).)

         23.    In 2022, the Swedish National Board of Health commissioned its own
systematic review and concluded that "the evidence on treatment efficacy and safety
is still insufficient and inconclusive for all reported outcomes," and that "[f]or
adolescents with gender incongruence, the . . . risks of puberty suppressing
treatment with GnRH-analogues and gender-affirming hormonal treatment
currently outweigh the possible benefits." (Cantor ¶¶ 28, 86; Swedish
Socialstyrelsen Support 2022 at 10-12.)
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       24.     In 2022, Norway's Healthcare Investigation Board (Ukom) concluded
that "The knowledge base, especially research-based knowledge for gender-
affirming treatment (hormonal and surgical), is insufficient and the long-term
effects are little known" and that "This applies particularly to the teenage
population." (Cantor ¶ 30-31; Ukom 2023, Summary and Section 7.)

       25.   In 2020, the Finnish Council for Choices in Health Care in Finland
concluded that medical transition of minors "is an experimental practice." (Cantor ¶
169, quoting COHERE Recommendation (2020) translation.) Dr. Riittakerttu
Kaltiala, Chief Psychiatrist in the Department of Adolescent Psychiatry at
Finland's Tampere University Hospital, has recently stated that young people who
received MGT were "deteriorating" rather than "thriving," that her clinic has
observed gender dysphoria spreading like a "social contagion" among teenage girls,
and that increasing numbers of patients have begun returning to their clinic saying
that they now regret their transition. (Kaltiala 2023b [Free Press Interview].)

       26.    Even the WPATH organization, which strongly advocates for medical
transition of minors, repeatedly acknowledges the absence of vital science in its
recently released and self-designated "Standard of Care" version 8 (SOC 8). The
SOC 8 notes that a 2014 Dutch study "is the only study that followed youth from
early adolescence... through young adulthood" (SOC 8 at S46) and "It is not clear if
deviations from [the age and mental and social health screening requirements of the
Dutch study approach] would lead to the same or different outcomes" (at S65). It
also acknowledges that, "Despite the slowly growing body of evidence supporting
the effectiveness of early medical intervention, the number of studies is still low,
and there are few outcome studies that follow youth into adulthood.” It adds, "A key
challenge in adolescent transgender care is the quality of evidence evaluating the
effectiveness of medically necessary gender-affirming medical and surgical
treatments." (at S45-46.)

      27.    Studies summarized by Drs. Cantor and Laidlaw likewise document
serious uncertainty about the efficacy and safety of MGT as a treatment for gender
dysphoria. (Cantor ¶¶ 148-154, 178-201; Laidlaw ¶¶ 90-175.)

       28.   For example, a study from the Tavistock and Portman clinic in the UK
found, “Relative to the time point before beginning puberty suppression, there were
no significant changes in any psychological measure, from either the patients’ or
their parents’ perspective.” (Cantor ¶ 186.)

       29.    Multiple other studies have found persistently high suicide rates after
MGT. (Cantor ¶ 149.) A cohort study of minors by Kuper et al. found that suicidal
ideation, suicidal attempts, and non-suicidal self-injury all went up after starting
MGT (Cantor ¶ 1521), and, “No studies have documented any reduction in suicide
rates in minors (or any population) as a result of medical transition” (Cantor ¶ 148),
a fact acknowledged by WPATH (Cantor ¶ 150).
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      30.    I also reviewed two large and very recent studies discussed in Dr.
Cantor’s supplemental report dated February 2, 2024. The first (Glintborg 2023)
examined the medical records of all individuals in Denmark diagnosed with gender
dysphoria or gender incongruence from 2000 through 2021 (3812 patients, among
whom 2089 underwent MGT). That study found that prescriptions of psychoactive
medications increased rather than decreased after the start of MGT and remained
elevated across multiple years. (Glintborg 2023 at. 341.) It also found that measures
of negative mental health, compared against controls, "were stable after initiation of
gender-affirming hormone treatment, without sign of decrease after date for first
prescription of gender-affirming hormone." (at 342:2.) That is, the mental health of
the patients who received MGT did not improve on average.

      31.    The second study (Kaltiala 2023) examined the medical records of
persons who had contacted the national gender identity service of Finland between
1996 and 2019 (3665 persons) and compared them to age and sex-matched controls.
That study found that the need for psychiatric treatment did not go down after
MGT interventions. (Kaltiala 2023 at 2:1.) The authors referenced similar findings
from an earlier study and noted, “Their findings and ours do not suggest that
medical GR interventions resolve psychiatric morbidity among people experiencing
gender distress.” (at 6:1.)

      32.   Finally, I have reviewed the expert reports of Drs. McNamara,
Antommaria, and Ladinsky and note that none of those reports cite any study that
has found that medical transition reduced suicides in any population.

      33.     All of this contradicts the plaintiffs’ claim that MGT is medically
necessary, since an intervention cannot be said to be medically necessary if the
benefits of the intervention are unproven, or indeed are cast into serious doubt by
the most recent large-scale studies.

      B.     The risks of harm from MGT are substantial and serious.

      34.     While the benefits of MGT for minors are at best unproven, the
evidence summarized by Drs. Cantor and Laidlaw also indicates that MGT in
minors poses risk of objective, often irreversible, harms to health, while also
requiring life-long dependence on medical interventions. 4




4 McNamara writes, “The overwhelming majority of adolescents who receive transitioning

medications continue to do so as adults.” (McNamara at 23.)
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      35.    Risks of harm recognized in the literature include:

             a. Sterilization (Cantor ¶¶ 206-207; Laidlaw ¶¶ 90-98, 157-159);

             b. Lifetime lack of orgasm and sexual function (Cantor ¶ 208)—an
                adverse effect acknowledged by Marci Bowers, current president of
                WPATH (Cantor ¶ 209; Laidlaw ¶¶ 99-100);

             c. Potential adverse effects on neurological and cognitive development
                (Cass Review Letter 2022 at 6; Cantor ¶¶ 210-214);

             d. Reduced bone development, especially in male to female transition
                (Cantor ¶¶ 217 – 220; Laidlaw ¶¶ 101-112), the long-term effects of
                which have not been studied;

             e. Harm to psychosocial development (Laidlaw ¶¶ 114-117); and

             f. “Increased cardiovascular risk, osteoporosis, and hormone
                dependent cancers.” (Cass 2022 at 36; Cantor ¶ 224; Laidlaw
                ¶¶ 126-129.)

       36.    The leading Swedish pediatric gender clinic, following a systematic
review of the available scientific evidence commissioned by Sweden's National
Board of Health, concluded that hormonal interventions in minors are "fraught with
extensive and irreversible adverse consequences such as cardiovascular disease,
osteoporosis, infertility, increased cancer risk, and thrombosis," and that "In light of
the above, and based on the precautionary principle, which should always be
applied, it has been decided that hormonal treatments (i.e., puberty blocking and
cross-sex hormones) will not be initiated in gender dysphoric patients under the age
of 16." (Karolinska 2021, cited in Cantor ¶ 27.)

      C.     The fact that a particular intervention is medically indicated for one condition
      in one population does not imply that it is medically or ethically defensible for a
      different condition in a different population.

      37.   The plaintiffs’ experts have suggested that because the drugs used in
MGT have been used to treat conditions such as precocious puberty and complete
androgen insensitivity syndrome, it is unjust to prevent their use in minors with
GD. But the plaintiffs’ experts are comparing apples and oranges.

       38.    While treatments for precocious puberty and complete androgen
insensitivity syndrome aim to preserve and restore healthy development of
secondary sex characteristics, MGT intentionally blocks healthy development of
those characteristics. As Dr. Cantor notes, the former aim "to bring the patient
within healthy norms", while the latter "is applied precisely to take the patient
outside of healthy norms." (Cantor ¶ 276.) Similarly, while the Court noted that
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"Doctors have also long used hormone therapies for patients whose natural hormone
levels are below normal" (Opinion and Order dated 05/13/22, at 18), MGT
contradicts this medical pattern; rather than correcting hormone levels that are
abnormal, it induces hormone levels that are abnormal.

       39.    Dr. McNamara asserts that MGT in minors is safe, because puberty
blockers have long been prescribed "in adolescents with cancer who need menstrual
suppression as they undergo marrow-ablative chemotherapy.” (McNamara at 13.)
But as Dr. McNamara concedes, "puberty blockers are used in these patients to
protect their gonads from toxicity induced by chemotherapy as a means of fertility
preservation", whereas, by contrast, MGT directly hinders and suppresses healthy
gonadal development and function, harming fertility. In one case, the drugs have
medicinal effects; in the case of MGT, the drugs have toxic effects. As a result, the
ethical analysis is entirely different and opposite.

      D.    The fact that GD is listed as a disorder in the Diagnostic and Statistical Manual
      of Mental Disorders (DSM 5) does not imply that GD marks a disorder of the body that
      warrants MGT in minors.

       40.    McNamara notes that the DSM 5 identifies GD as a disorder.
(McNamara at 15.) But the DSM is a manual specifically of what it terms “mental
disorders” created by the American Psychiatric Association; it does not identify or
provide diagnostic criteria for medical illnesses. The Plaintiffs have not identified
any other “mental disorder” for which the indicated treatment is to block or damage
the development of healthy organs and functions. On the contrary, MGT in minors
contradicts ordinary medical standards with respect to disorders of perception. The
person suffering GD perceives their objectively healthy secondary sex
characteristics as not compatible with their mental self-perception and therefore
needing to be suppressed. MGT problematically takes the minor's mental perception
as sufficient reason to treat healthy anatomy and physiology as if it were diseased,
thereby contradicting medicine's ordinary regard for the healthy body as its
standard. To my knowledge, in no other case do we treat a disordered perception by
treating normal physiology and anatomy as diseased. We do not, for example,
prescribe hand soap to children who, because of obsessive compulsive disorder,
misperceive their hands as needing to be washed repeatedly. We do not lock
children indoors who, because of agoraphobia, fear going outside. We do not
encourage fasting in patients with anorexia nervosa.

      41.    Indeed, there is one historical precedent where doctors have removed
or damaged healthy tissue attempting to treat mental disorders—that is,
performing lobotomies on patients who suffered from mental illnesses, including
schizophrenia, depression, melancholy, and obsessive-compulsive disorder. As with
MGT, “The treatment was introduced … despite the fact that little research had
been carried out on its effects.” (Torkildsen 2022.) As with MGT, in the absence of
adequate scientific data, many people “were convinced that lobotomy reduced
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suffering.” As with MGT, “those who promoted the method, were driven by idealism
and a strongly held belief that their treatment alleviated suffering,” and they “gave
overwhelmingly positive reviews of the efficacy of the treatment, while grossly
under-communicating its adverse effects.” Lobotomy has come to be seen “as one of
the greatest mistakes in modern medicine” (Torkildsen 2022)—a prominent
example of a collective scientific and ethical misstep by the medical profession that
harmed many patients. In my opinion, MGT is likely to be judged the same, not
least because it treats a disorder of perception as if it were a disorder of the body,
harming the healthy body in efforts to reduce mental suffering.

      E.     Statements by U.S. medical and advocacy organizations do not establish that
      MGT is medically necessary.

       42.    As already summarized above, ample objective evidence demonstrates
dissensus regarding MGT across the community of experts and clinicians. Indeed,
the health authorities and independent bodies that have systematically reviewed
the scientific evidence regarding MGT in minors have concluded that evidence is
insufficient to justify the conclusion that MGT improves even mental health
outcomes. Indeed, the recent large studies from Denmark and Finland have found
that mental and behavioral disorders do not decrease after MGT. (Glintborg 2023 at
341, Kaltiala 2023 at 1.)

       43.    In contrast to these reviews of evidence, "The Endocrine Society
guidelines do not rely on any systematic review of evidence of efficacy of any form of
treatment for gender dysphoria." (Cantor ¶ 256.) The AAP's 2018 policy statement,
"unique among the major medical associations in being the only one to endorse an
affirmation-on-demand policy" (Cantor ¶ 257), was authored by one physician and
likewise was not based on a systematic review of available evidence. The policy
statement cited no new evidence to justify offering MGT rather than therapy and
watchful waiting, and the statement is contradicted by the very reports it cited.
(Cantor ¶ 257.) Meanwhile, "the systematic review on which WPATH based its
standards for minors included exactly one study on puberty blockers and three
studies on cross-sex hormones. All other references represent cherry-picked
citations of studies rejected by its own systematic process. Moreover, even among
the four studies in WPATH's review, three were rejected by the Swedish review, due
to the low quality of the science they contained." (Cantor ¶ 250.) WPATH likewise
cited no reference or rationale to justify removing minimum age restrictions for
MGT.
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      F.     If WPATH allowed the SOC 8 development process to be influenced by financial
      and other non-medical considerations, then WPATH’s Standards of Care report is
      unreliable not only because it is contradicted by the evidentiary base, but also
      because it is the product of ethical misconduct.

       44.     My own review of SOC 8 indicates WPATH has problematically
minimized the doctor's responsibility to exercise independent judgment and
fiduciary responsibility to guide patient care for minors. In addition, Cantor and
Laidlaw conclude that the WPATH committee members who participated in
creating SOC 8 were subject to direct financial conflicts of interest as the guidelines
would likely impact their own income (more procedures permitted, and increased
insurance coverage, and their liability risk. (Laidlaw ¶ 187; Cantor Supp. ¶ 102-115,
119.) Insofar as these descriptions are accurate, then WPATH ignored significant
conflicts of interest and violated accepted principles of medical ethics.

      45.     Beauchamp and Childress note:

            A conflict of interest exists when an impartial observer would
            determine that a professional's judgments, decisions, or actions
            are at risk of being unduly influenced by his or her personal
            interests, such as financial interests … The risk is that the
            professional's personal interests will create temptations,
            biases, and the like that will lead to a breach of role
            responsibilities through judgments, decisions, and actions
            other than those reasonably expected in the role. The
            reasonable expectation is that clinicians will seek the patient's
            welfare and respect his or her rights, that researchers will
            pursue objective and valid results, and so forth. A conflict of
            interest poses a risk that the professional in question will
            compromise these expectations and thereby damage patients'
            interests and rights, distort research, or teach trainees in a
            biased way. (Beauchamp and Childress at 328.)

       46.    As this explanation makes plain, it is beyond dispute that clinicians
who practice (and are paid for) MGT have a conflict of interest in assessing whether
MGT is supported by the evidence. It is problematic that this conflict of interest was
neither mentioned in the SOC 8 report nor managed by including outside experts
and perspectives in the standard-writing process. Insofar as changes in the
recommendations were motivated not by dispassionate assessment of the data but
by concern to protect clinicians’ financial interests or professional reputations, or to
further political or litigation agendas, that clearly “damage[s] patients' interests
and rights, distort[s] research” and promulgates standards “in a biased way.” All of
this contradicts professional ethical norms and undermines trust in the medical
profession. As Beauchamp and Childress also write, “Health care professions specify
and enforce obligations for their members, thereby seeking to ensure that persons
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who enter into relationships with these professionals will find them competent and
trustworthy.” (Beauchamp and Childress at 7.) If WPATH permitted its standard-
development process to be dominated by individuals with a direct financial interest
in providing the services covered by that document, without disclosing those
conflicts of interest, then WPATH is neither competent nor trustworthy regarding
its evaluations or advocacy of MGT.

       G.      The problematic influence of fear and intimidation on the scientific discourse
       relating to responses to gender dysphoria.

       47.   When confronted with claims of “medical consensus,” the Court needs
to be aware that social pressure and fear of censure within the United States
medical and academic communities is affecting both what is published about MGT
and the willingness of doctors to voice concerns about MGT.

       48.    Reuters recently published an investigative report documenting both
growing concerns among physicians about MGT as well as intense backlash that
clinicians, experts, and patients themselves have received when they voice such
concerns. (Respaut 2022.)

       49.    I know from personal conversations with many medical ethicists and
practitioners that doctors are afraid to speak up for fear of both social and
employment repercussions, a problem also described by colleagues in Europe (Cass
28, Kaltiala 2023b). 5 I recently participated in a meeting of the Greenwall Faculty
Scholars Program in Bioethics, which brings together a community of leading
bioethicists nationwide. The meeting included a closed-door session titled, "Hot
Topic: Bioethics Dilemmas in the Care of Transgender Minors." In that session,
several colleagues voiced concerns, including a number of the ethical concerns I
have raised in this report. Colleagues also expressed reservations about raising
these concerns in public, for fear of being treated as a bigot or someone who is
insensitive to the needs of people experiencing GD. This pattern reflects what the
Cass report also reported in the UK, that clinicians there “are afraid of the
consequences of [‘taking a mental health approach to formulating a differential
diagnosis’] in relation to gender distress because of the pressure to take a purely
affirmative approach.” (Cass 48.)

       50.    In December 2023 I participated in a meeting of the faculty of Duke
University's Trent Center for Bioethics, Humanities & History of Medicine focused
on this topic. In that meeting several faculty members voiced similar concerns about
MGT and similar fears about speaking up. In November 2023 I gave an invited

5 Kaltiala writes: “… health providers were failing to speak up. I understood this silence.

Anyone, including physicians, researchers, academics, and writers, who raised concerns
about the growing power of gender activists, and about the effects of medically transitioning
young people, were subjected to organized campaigns of vilification and threats to their
careers.” (Kaltiala 2023b.)
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lecture on this topic at the University of Chicago's MacLean Center for Clinical
Medical Ethics, and there more than one colleague told me that they feared
speaking up about their concerns regarding MGT, and that they had observed that
other colleagues at the University, when they learned of the topic, had sought to
have me disinvited prior to the lecture. After the lecture an undergraduate student
waited until everyone who wanted to talk to me had left, and then came up and
quietly thanked me for speaking up about the ethical problems with MGT for
minors. She said that she had been on the pathway to MGT a few years before, but
as she had gone through puberty she slowly had come to grips with being a woman
and now calls herself a desister.

        51.   Both medical students and faculty at Duke University, where I am
employed, have told me that they fear voicing concerns about MGT, and I probably
would not have felt able to voice my own concerns were I not tenured. Having voiced
my concerns, I was cancelled from giving a talk on an unrelated topic at Michigan
State University spring of 2022, because students alleged that they would not feel
safe listening to me lecture on that topic due to the concerns I had expressed
elsewhere about MGT. I have found resistance to hosting public dialogue and
debate about the topic even among colleagues that agree that MGT is ethically
problematic. All of this makes evident that fear is muzzling open expression of
widespread and growing dissent within the medical community regarding MGT.

VI. APPLICATION OF PRINCIPLES OF MEDICAL ETHICS TO THE STATE OF SCIENTIFIC
KNOWLEDGE CONCERNING THE BENEFITS, HARMS, AND RISKS OF MGT.

      A.     The state of evidence does not support the conclusion that the ethical principle
      of equipoise forbids withholding MGT from minors, including in studies in which a
      control group does not receive MGT.

        52.   Benjamin Freedman, the bioethicist who first promoted the concept of
equipoise in clinical research, has written, “The ethics of clinical research requires
equipoise — a state of genuine uncertainty on the part of the clinical investigator
regarding the comparative therapeutic merits of each arm in a trial.” (Freedman
1987.) In their respected textbook, Principles of Biomedical Ethics, Beauchamp and
Childress note that “[t]he community of reasonable physicians is … in a state of
‘clinical equipoise’” when “No one knows, prior to conducting the research, whether
it is more advantageous to be in the control group or in the experimental group …
No patient, then, will receive something known to be less effective or to have a
higher risk than an available alternative.” (Beauchamp and Childress 2012 at 335.)
Notably, clinical equipoise depends on both foreseen benefits and foreseen harms.

       53.   To conclude that the principle of equipoise forbids an “untreated”
“active control” arm in a clinical study of MGT, one would have to conclude that it is
known as a matter of medical science that MGT brings about benefits that outweigh
known or foreseeable but unstudied harms, and that those benefits cannot be
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achieved by some other “established effective intervention” which could be included
in the “active control.” (Beauchamp and Childress at 336.) In the case of GD, such
an active control (also called the “active comparator” (Cantor ¶ 265)) could include
any customary psychotherapeutic interventions. Since large studies find that MGT
does not lead to improved mental health outcomes, it is incorrect to assert that not
offering MGT is contradicted by the principle of equipoise.

       54.    Importantly—and contrary to what Dr. Antommaria suggests
(Antommaria at 10)—whether clinical equipoise exists is not determined by what
any one clinician or group of clinicians or investigators believes. Nor, contrary to the
American Academy of Pediatrics, can the physician’s ethical obligation to determine
the existence (or absence) of clinical equipoise based on the available science be
obviated by “preexisting guidelines that recommend gender-affirming care.” (AAP
amicus brief, Williams v. Skrmetti, supra n. 3.) Rather, clinical equipoise exists
when, “[o]n the basis of the available evidence” (Beauchamp and Childress at 335),
“there is genuine uncertainty within the expert medical community—not
necessarily on the part of the individual investigator—about the preferred
treatment” (Freedman 1987). As the above summaries make clear, the community
of reasonable clinicians, as well as the international community of relevant experts,
is at best genuinely uncertain about whether MGT is to be preferred to standard
psychotherapeutic treatment without MGT. This is confirmed by the fact that
multiple international bodies of experts have described MGT as “experimental.”
(Cantor ¶ 168-172.)6

       55.     Plaintiffs’ assertions that it would be unethical to do clinical research
with an arm that does not receive MGT are thus unsupported. I see assertions but
no science cited by Plaintiffs’ experts that should cause an Institutional Review
Board (IRB) to reject a clinical trial in which the active control does not include
MGT. IRBs do not defer to clinicians’ judgment about equipoise, much less to those
who are most enthusiastic about some intervention. When IRBs are fulfilling their
role, they require clinicians and researchers to show sufficient evidence to justify
their beliefs.

      56.    Moreover, that such studies can be ethical is evidenced by the fact that
multiple countries, including the United Kingdom, have now announced policy
changes to provide MGT only as part of formal research protocols. (Cantor ¶¶ 168,
170, 266.) Even pioneers of MGT have called for such research, with Dr. de Vries
writing recently that “rigorous longitudinal outcomes studies that provide evidence
about whether this approach [MGT in minors] is effective and safe are needed” and




6 See also a 2023 article published in one of the world's most prestigious medical journals,

the British Journal of Medicine, that was entitled, “Gender dysphoria in young people is
rising and so is professional disagreement.” (Block 2023.)
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that “Future studies that compare outcomes with different care models are needed.”
(de Vries 2023 at 276; cited Cantor ¶ 283 (italics added).)

       57.   Thus, even if a trial cannot be randomized or blinded as a practical
matter, the principles of medical ethics do not preclude a carefully constructed trial
that includes an arm comprised of patients with GD who undergo psychotherapeutic
care but do not undergo hormonal intervention.

      B.    An Institutional Review Board that approved the expanded clinical trial
      apparently advocated by the FDA would likely be violating its ethical obligations.

       58.    As I have summarized above, multiple international reviews of the
available evidence have concluded that MGT has not been shown to improve mental
health outcomes. Without reliable evidence of better mental health outcomes than
achieved by psychotherapy alone, the known or reasonably foreseeable harms of
MGT cannot be reasonably accepted. That is to say, the condition of equipoise not
only does not forbid withholding MGT, it likely forbids offering MGT until and
unless appropriately conducted research generates evidence that MGT is likely to
generate health benefits that are at least proportionate to its known harms. Based
on the reviews of the published evidence provided by Drs. Cantor and Laidlaw, such
reliable evidence is lacking at present.

       59.    A clinical trial of MGT on minors would likely violate other accepted
principles of medical ethics as well.

       60.   The Nuremberg Code, adopted after World War II in response to the
human experimentation performed by medical doctors under the Nazi regime, is one
of the foundational and internationally accepted statements of key principles of
medical ethics pertaining to experimentation on humans. Paragraph 3 of the
Nuremberg Code states:

          "The experiment should be so designed and based on the
          results of animal experimentation and a knowledge of the
          natural history of the disease or other problem under study,
          that the anticipated results will justify the performance of the
          experiment."

      61.     One point of this principle is that if a proposed treatment poses
potential risks that could be explored through experiments on animals, then those
animal experiments should be done before the treatment is tested on humans.

      62.    Animal experiments would be possible with respect to many widely
recognized risks of puberty blockers and cross-sex hormones. For example, Chen
(2020) validates the ability to do useful animal studies of effects of hormones on
brain development, writing, "studies in rodents show ovarian hormones, acting
during puberty, program cognitive flexibility by exerting long-lasting effects on
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excitatory-inhibitory balance in the pre-frontal cortex . . . [and] testosterone, acting
during puberty, programs the ability to adapt behavior as a function of social
experience." (Chen 2020 at 253:2a.) Animal studies might also help to clarify
whether and under what conditions MGT-induced sterilization is reversible;
whether suppressed bone development leads to later fractures or other
complications; and how MGT impacts cardiovascular health over time. To my
knowledge, such studies have not been undertaken. A responsible IRB recalling the
Nuremberg Code would want to know what animal studies were feasible, which had
been done, and (if true) why feasible studies had not been done, before approving
clinical trials of MGT on humans.

        63.   Another universally respected statement of principles of medical ethics
is the Declaration of Helsinki, first adopted by the World Medical Association in
1964, and periodically updated since then. Paragraphs 17 and 18 of the Helsinki
Declaration state that it is unethical to undertake any human experiments without
first conducting a "careful assessment of predictable risks" and reaching a well-
grounded conclusion that all of those risks "can be satisfactorily managed."
(Helsinki Declaration ¶¶ 17, 18.)

       64.    A trial that subjects adolescents to MGT does not meet these standards
insofar as the available science does not enable a conclusion that “predictable risks”
of MGT in adolescents—including sterilization, negative impact on
neurodevelopment, and negative impact on bone and cardiovascular strength—can
be “satisfactorily managed.”

      65.   A third respected statement of principles of medical ethics is the
Belmont Report, published in 1979 by the National Commission for the Protection
of Human Subjects of Biomedical and Behavioral Research, authorized by the
National Research Act of 1974. The Belmont Report states that prior to
administration of experimental treatments to humans:

          “there should first be a determination of the validity of the
          presuppositions of the research; then the nature, probability
          and magnitude of risk should be distinguished with as much
          clarity as possible. … It should also be determined whether an
          investigator's estimates of the probability of harm or benefits
          are reasonable, as judged by known facts or other available
          studies.”

          “When research involves significant risk of serious impairment,
          review committees should be extraordinarily insistent on the
          justification of the risk (looking usually to the likelihood of
          benefit to the subject . . . .)” (Belmont Report § C.2.)
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      66.    There can be no doubt that the known or potential harms of MGT
discussed in the literature by knowledgeable observers—including sterilization,
impairment of brain development, permanent deprivation of sexual response, and
impaired bone development—constitute “risk of serious impairment.” Further, the
known facts and available studies as reviewed by Drs. Cantor and Laidlaw indicate
that assertions that the benefits of MGT outweigh the potential harms are not
empirically justified given the existing scientific record.

       67.   In my opinion, the plaintiffs have not met the bar of justifying the risk
associated with MGT insofar as: the evidence to date does not support the claim
that MGT brings mental health benefits; animal studies relevant to safety that can
be done have not been done; there has not been "careful assessment of predictable
risks," and no plan for how all the known risks "can be satisfactorily managed" has
been identified.

      C.     Large and well-resourced medical systems have violated ethical principles by
      engaging in large-scale prescription of unproven therapies without undertaking well-
      designed research to evaluate safety and efficacy.

       68.   As the Helsinki Declaration states, a physician, in certain
circumstances, may reasonably use an unproven intervention in the treatment of an
individual patient, but "This intervention should subsequently be made the object of
research, designed to evaluate its safety and efficacy. In all cases, new information
must be recorded and, where appropriate, made publicly available." (Helsinki
Declaration ¶ 37.) The Belmont Report likewise states, "in order to determine
whether ['radically new procedures'] are safe and effective it is the responsibility of
medical practices committees . . . to insist that a major innovation be incorporated
into a formal research project at an early stage." (Belmont Report Part A.)

       69.    It follows that well-resourced academic medical centers with affiliated
clinics where unproven MGT interventions are being clinically deployed bear a
responsibility under these respected codes of medical ethics to sponsor research
capable of investigating the harms and benefits of those interventions. Of course,
such research must itself satisfy ethical principles. For example, thorough animal
experimentation might be the only ethically justified experimentation given the
present state of knowledge. (See above.) At the very least, academic medical centers
are obligated to undertake long-term follow-up—into adulthood—of minors
undergoing these unproven and "radically new" interventions. This they have not
done (or at least, have not yet published), as evidenced by numerous systematic
reviews concluding that there is very little evidence regarding the long-term effects
of these interventions, and the evidence that exists is of very low quality.
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VII. THE POSSIBILITY OF MEANINGFUL INFORMED CONSENT TO MGT FOR MINORS IS
DOUBTFUL.

       70.    The Belmont Report further states that respect for persons requires
that research can only be conducted ethically if the subjects have given informed
consent. In 1982, soon after the Belmont Report was published, the principle of
informed consent was applied to clinical medicine in another landmark government
report, Making Health Care Decisions. Since then, the principle and practice of
informed consent has been uniformly established across the domains both of clinical
research and clinical medicine. Beauchamp and Childress write, “Virtually all
prominent medical and research codes and institutional rules of ethics now hold
that physicians and investigators must obtain the informed consent of patients and
subjects prior to a substantial intervention.” (Health Care Decisions at 121.) The
Belmont Report notes “widespread agreement” that informed consent requires the
presence of sufficient “information, comprehension and voluntariness.” (Belmont
Report § C:1.) In my opinion, minors cannot give duly informed consent to MGT,
because it is doubtful that any of these three conditions of informed consent can be
met.

      A.     Doctors do not possess and are not providing information sufficient to enable
      children or parents to make “informed” decisions.

      71.     The absence of well-designed and controlled studies makes it
impossible to give minors and their parents information sufficient to consider their
consent duly informed, and the plaintiffs’ experts by their own admission are
misinforming patients regarding that fact. “Caveat emptor” does not meet the bar
required for consent to be duly informed within clinical medicine and clinical
research. It is not enough to say “we don’t know” without doing the careful,
incremental research to generate information needed for a consent to be duly
informed. Moreover, by their own admission the plaintiffs’ experts do not disclose to
minor patients and their parents that the evidence base does not support their
claims of benefit from MGT. As such, by their own admission, they are
misinforming minors and their parents who are considering MGT, and therefore
contradicting the first condition on which informed consent depends.

      B.     It has not been shown that minors are able to comprehend and reasonably
      evaluate the risks and lifelong implications of MGT.

      72.    It is doubtful that minors have the intellectual maturity to sufficiently
comprehend the decision to undergo MGT and the potentially life-long consequences
that decision will bring.

      73.    It is well recognized that the ability to evaluate and balance risk and
reward, to consider long-term as well as short-term implications, and to make
prudent and well-considered decisions is not well developed in children and
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adolescents. WPATH's recently published SOC 8 acknowledges problems with
minors’ immature capacity for judgment, noting, "adolescence is . . . often associated
with increased risk-taking behaviors" (SOC 8 at S44), and "Adolescents often
experience a sense of urgency that stems from hypersensitivity to reward, and their
sense of timing has been shown to be different from that of older individuals" (SOC
8 at S44). Beauchamp and Childress likewise note that immaturity hinders
adequate understanding. (Beauchamp and Childress 2012 at 131.) For this reason
among others, with few exceptions minors are not considered capable of granting
informed consent to medical interventions. (Katz 2016 at e1, e9.)

       74.   Minors seem particularly incapable of comprehending the long-term
implications of MGT, insofar as those implications involve relationships and
experiences that come only with adulthood. As I have noted above, MGT brings
lifetime physical and social implications including risks of impaired brain
development, sterilization, and loss of sexual response. These risks cannot be
adequately comprehended by children insofar as these risks relate specifically to
aspects of human life that go with being an adult and are outside the life experience
of children.

       75.    Moreover, one form of MGT—puberty blockers—by design blocks the
mental, physical, and emotional maturation of puberty which may be essential for a
child to come in time to comprehend decisions of this magnitude. (Cantor ¶ 214.) Dr.
Cantor notes that “Blocking puberty blocks the awareness of sexuality and sexual
orientation that can play an important role in the individual’s understanding of
gender identity” (Cantor ¶ 234), and “for all children, blocking puberty necessarily
blocks the onset of adult sexual interest, sexual arousal, and sexual response which
are part of ‘the usual process of sexual orientation and gender identity
development’” (Cantor ¶ 235, quoting Cass 2022 at 38).

       76.    In connection with the comprehensive review commissioned by the
English National Health Service, Dr. Cass wrote, "We do not fully understand the
role of adolescent sex hormones in driving the development of both sexuality and
gender identity through the early teen years, so by extension we cannot be sure
about the impact of stopping these hormone surges on psychosexual and gender
maturation. We therefore have no way of knowing whether, rather than buying
time to make a decision, puberty blockers may disrupt that decision-making
process.” (Cass Review Letter 2022 at 5.)

       77.   It is ethically problematic when the treatment in question—puberty
blockers—not only cannot be comprehended adequately by minors, but also
prevents the otherwise healthy development of their capacity to comprehend such
decisions. This is all the more true for younger children, “[g]iven the highly reliable,
repeatedly replicated finding that childhood-onset gender dysphoria resolves with
puberty for the large majority of children,” and that “the evidence indicates that
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blocking a child’s puberty blocks the child’s natural maturation that itself would
resolve the dysphoria.” (Cantor ¶ 159.)

       78.    With respect to adolescents, WPATH’s SOC 8 states that “decision-
making regarding gender affirming medical treatments that have life-long
consequences requires thoughtful, future-oriented thinking by the adolescent.”
(SOC 8 at S63.) However, neither WPATH nor any other source referenced by
plaintiffs’ experts establishes that minors, whether pre-pubertal or adolescent, are
able to meaningfully comprehend and reasonably evaluate the risks and lifelong
implications of MGT.

      C.      There is evidence that many minors who are subjected to MGT cannot meet
      the informed consent requirement of “voluntariness.”

      79.     The opening statement of the Nuremberg Code declares,

            The voluntary consent of the human subject is absolutely
            essential. This means that the person involved should have
            legal capacity to give consent; should be so situated as to be
            able to exercise free power of choice, without the intervention
            of any element of force, fraud, deceit, duress, over-reaching, or
            other ulterior form of constraint or coercion; and should have
            sufficient knowledge and comprehension of the elements of the
            subject matter involved, as to enable him to make an
            understanding and enlightened decision.

      80.    As the Nuremberg Code indicates, voluntariness depends on adequate
information and comprehension (“sufficient knowledge and comprehension of the
elements of the subject matter involved”), both of which, as already noted, are
doubtful in the case of minors considering MGT. But voluntariness also depends on
freedom from controlling influences, both external and internal.

       81.   With respect to external influences, minors obviously are commonly
under the controlling influence of parents, which I will address below. In addition, a
number of international experts have indicated concern that the rapid increase in
prevalence of GD, especially among adolescent females, reflects undue influence of
social pressure. WPATH's recently published SOC 8 itself acknowledges, “For a
select subgroup of young people, susceptibility to social influence impacting gender
may be an important differential to consider." (SOC 8 at S45.)

       82.    Beauchamp and Childress note that in addition to external controlling
influences, “no less important to autonomy are internal influences on the person,
such as those caused by mental illness. All of these conditions can limit
voluntariness.” (Beauchamp and Childress 2012 at 105; see also id. at 138.) Dr.
Cantor documents ample evidence that a high proportion of minors experiencing GD
suffer from mental illnesses. (Cantor ¶ 160-162.) These mental illnesses constitute
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an internal controlling influence that can prevent genuine voluntariness. As
WPATH itself recognizes, "A young person's mental health challenges may impact
their conceptualization of their gender development history and gender identity-
related needs, the adolescent's capacity to consent, and the ability of the young
person to engage in or receive medical treatment," and “The adolescent’s mental
health concerns . . . may interfere with diagnostic clarity [and] capacity to
consent . . .”. (SOC 8 at S62.) WPATH also recently admitted that
"autistic/neurodivergent transgender youth represent a substantial minority
subpopulation" of those seeking medical transition. (SOC 8 at S50.)

       83.   Despite the serious obstacle posed by mental health conditions to
genuine voluntariness in decision-making by a minor, WPATH’s SOC 8 is
problematically unclear as to how these conditions will be addressed prerequisite to
any MGT. Instead, it refers to an undefined “biopsychosocial assessment” (SOC 8 at
S50), and only calls for known mental health concerns to be “addressed” rather than
resolved before accepting consent (or assent) as voluntary (SOC 8 at S62). SOC 8
provides no guidance grounded on empirical evidence as to how or when
consent/assent given by a minor who suffers from a mental health condition could
be determined to be voluntary.

       D.      The fact that MGT is wanted by minors and their parents is not sufficient to
       justify MGT, medically or ethically.

       84.    WPATH's revisions of guidelines to eliminate or minimize the doctor's
responsibility regarding decision-making with respect to MGT violate accepted
principles of medical ethics. In its Standards of Care, version 8, WPATH suggests
that gaps in evidence demonstrating the safety and efficacy of MGT should not
prevent the use of MGT in adolescents "given the ethics of self-determination in
care." (SOC 8 at S45.) The new guidelines also emphasize a "right to bodily and
mental integrity, autonomy, and self-determination," 7 and a putative need for
healthcare practitioners to "[m]atch the treatment approach to the specific needs of
patients, particularly their goals for gender identity and expression." (SOC 8 at
S21.) This language ignores the potential conflict with MGT between "bodily
integrity" and "self-determination," as well the conflict between the "needs of
patients" and "their goals."

      85.    Much has been made of the importance of autonomy, but the ethical
standard for medical decision-making with respect to minors is decidedly not "self-
determination." Rather, as noted in the AAP Committee on Bioethics Report,
“Informed Consent in Decision- Making in Pediatric Practice” (Katz 2016), the


7 Among the “General Principles” asserted by WPATH are: “Respect universal human

rights including the right to bodily and mental integrity, autonomy and self-determination;
freedom from discrimination, and the right to the highest attainable standard of health.”
(SOC 8 at S21.)
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physician acts in a fiduciary relationship with the child, governed by “the duties to
protect and promote health-related interests of the child and adolescent … [, and]
these duties may conflict with the parent’s or patient’s wishes.” (Katz 2016 at e2.)
Parents likewise have “an ethically parallel fiduciary obligation” (e2) to promote the
child’s best interests, whether or not that corresponds with what the child wants.
“Historically and legally,” the AAP report continues, “medical decision-making in
children has centered on the best-interest standard, which directs the surrogate to
maximize benefits and minimize harms to the minor.” (e6) “A reliance on individual
liberties and autonomy in the pediatric patient”, the AAP report notes, “is not
realistic or legally accepted.” (e2)

       86.   By appealing to self-determination to justify MGT for minors, WPATH
is putting the onus on children to make clinical decisions that they haven't
information, comprehension, or authority to make, and thereby retreating from
physicians' ethical obligations to protect children—a class of vulnerable subjects—
from interventions that subject children to risks and harms without clear evidence
of proportionate medical benefit.

       87.   For all of these reasons, it is doubtful that minors experiencing GD
have sufficient information, comprehension, or voluntariness to make possible
informed consent to MGT. If any minors do possess the level of comprehension and
voluntariness required by ethical principles for a choice as momentous as
undergoing MGT, I am aware of no evidence-based criteria for identifying those
specific minors, and plaintiffs’ experts cite none.

       E.    Parental consent cannot satisfy the doctor’s ethical obligation to obtain
       informed, comprehending, voluntary consent.

      88.   In many medical contexts, medical ethicists speak of obtaining "assent"
from minors, while obtaining "consent" from the child's parents. (Katz 2016, e8)
This combination of adolescent assent and parental consent, however, cannot cure
the problems with informed consent to MGT.

       89.   Children have long been considered a category of vulnerable subjects
and therefore as deserving more protections. (Beauchamp and Childress at 63.)8 For
example, the Declaration of Helsinki requires that where a clinical trial or
experiment involves "vulnerable groups and individuals", those patients must
"receive specifically considered protection." (Helsinki Declaration ¶ 19.)

       90.   In the clinical domain, the vulnerability of children is addressed in
part by requiring both parents and physicians to act in ways that are reasonably
consistent with the child’s medical best interest. (Katz 2016 at e2, e12.) That is to

8 See also HHS policy statement, “Vulnerable and Other Populations Requiring Additional

Protections,” available at https://grants.nih.gov/policy/humansubjects/policies-and-
regulations/vulnerable-populations.htm.
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say that whereas adults are given greater latitude to refuse even medically
indicated and life-saving treatments, children and their parents generally are not. 9
In parallel, parents have much more latitude to accept experimental interventions
and even interventions that contradict bodily health (e.g. cosmetic procedures,
physician-assisted suicide) for themselves than they have latitude to accept such
interventions for their children. (Katz 2016 at e5.)

       91.    Because of the vulnerability of children, it is widely accepted that both
physicians and the state are obligated to act as fiduciaries of children’s best
interests with respect to health, and if necessary to act en loco parentis. Just as
parents are ethically obligated to prioritize the child’s good over their own wishes,
medical professionals are obligated to prioritize the child’s best interest (where that
involves the child’s health) over the wishes of the parents. Beauchamp and
Childress (at 221) describe such “paternalistic” actions as justified by the ethical
principle of beneficence—the obligation to do good and promote the health of
individuals, while protecting them from harm. The AAP report on informed consent
comments:

           This parental responsibility for medical decision-making in
           caring for their child or young adult is not an absolute right,
           however, because the state also has a societal interest in
           protecting the child or young adult from harm and can
           challenge parental authority in situations in which the child or
           young adult is put at risk (the doctrine of parens patriae).
           Pediatric health care providers have legal and ethical duties to
           provide a standard of care that meets the pediatric patient’s
           needs and not necessarily what the parents desire or request.
           (Katz 2016 at e5.)

      92.     By definition, minors experiencing GD are vulnerable subjects, and all
the more so in light of the already noted high prevalence of mental illness and other
comorbidities among this population. As such, minors experiencing GD are owed
protection from interventions that contradict their medical best interest—their
health. Because MGT disrupts and contradicts bodily health in several ways, it is
doubtful that physicians have ethical warrant to offer, or that parents have ethical
authority to consent to, MGT in minors.




9 Beauchamp and Childress note, “Courts have often allowed adult Jehovah's Witnesses, for

example, to reject blood transfusions for themselves, while disallowing parental rejections
of medically necessary blood transfusions for their children. Parents are also sometimes
appropriately charged with child neglect when they fail to seek or permit potentially
beneficial medical treatment recommended by physicians.” (at 325)
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      93.     In addition, for the same reasons I have reviewed above, it is not
possible to say that parents are receiving information about the implications of
MGT sufficient to make any consent they might provide “informed.”

       94.    If persons suffering GD faced imminent bodily harm from their
condition, and if there were no other way to respond but to deploy MGT, and if
evidence from animal studies and carefully controlled human trials gave reason to
anticipate benefits from MGT proportionate to known harms, then an adult could
potentially give valid consent to MGT in knowledge of the absence of otherwise
necessary information. But none of these conditions in fact have been met, and that
makes it doubtful that the principle of informed consent within clinical medicine
and clinical research can be met at all with respect to MGT, much less with MGT
for minors.

        95.   The fact that MGT creates a material risk (or even expectation) of
sterilization and failure to develop healthy sexual response raises special ethical
problems with accepting parental “consent” on behalf of the child. With respect to
loss of healthy sexual response, I note that our society strongly disapproves of
clitoral mutilation of girls (denying them sexual response in their future adult lives)
despite parental consent. Indeed, such “medical” procedures have been prohibited
by law as a felony subject to imprisonment. 10

       96.    Sterilization has likewise long been recognized to raise special ethical
issues. One systematic review found that a significant percentage of women who
consent to sterilization at relatively young ages (under 30, in that study) later
deeply regret that decision. (Curtis 2006; see also Burgart 2017; Hillis 1999.) Given
the possibility of regret and deprivation of what is considered a basic human right
in other contexts, it is generally accepted that sterilizing procedures should only be
performed on a minor when necessary to save his or her life. And even then, “The
validity of parental consent to a sterilizing procedure can be challenged when the
procedure could be safely postponed until the child can consent [i.e., when the child
reaches adulthood], or where less-invasive alternatives are available.” (Burgart
2017; Tamar-Mattis 2009.)




10 https://travel.state.gov/content/travel/en/us-visas/visa-information-resources/fact-sheet-

on-female-genital-mutilation-or-
cutting.html#:~:text=Violation%20of%20the%20law%20is,are%20prohibited%20under%20
U.S.%20law.
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       97.    While medical procedures that impose substantial risk of serious harm
are ethical in some settings, plaintiffs' experts do not remotely establish that the
necessary conditions justifying such procedures exist in the case of GD and MGT,
especially for minors.

       98.    I declare under penalty of perjury that the foregoing is true and correct
to the best of my knowledge.

           This declaration was executed on February 2, 2024.




                                                              Farr A. Curlin, MD
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             Appendix A: Bibliography and Other Materials Considered

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       implications of informed consent in the patient-practitioner relationship. U.S. Gov’t
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                               Other Materials Considered

       1. Vulnerable Child Compassion and Protection Act (the "Act").

      2.    Opinion and order granting preliminary injunction dated May 13, 2022
("Order granting PI")

       3.     Second Amended Complaint dated September 19, 2022.

       4.     Expert Report of Meredithe McNamara, dated Feb 8, 2023

       5.     Expert Report of Armand Antommaria, dated Feb 13, 2023

       6.     Expert report of James Cantor, dated May 19, 2023

      7.   Supplementary Expert Report of James Cantor, dated February 1,
2024 (Nonconfidential portions)

       8.     Expert Report of Michael Laidlaw, dated May 19, 2023

       9.     Supplementary Expert report of Michael Laidlaw, dated May 19, 2023

       10.    Eleventh Circuit Court Opinion dated August 21, 2023

       11.    Production documents HHS-0169973 to -0619991
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           Appendix B: Curriculum Vitae of Dr. Farr Curlin, MD
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                                                                                          January 2024


                                     CURRICULUM VITAE

                                        Farr A. Curlin, MD


EDUCATION AND TRAINING
     College: University of North Carolina at Chapel Hill, BA with distinction, Biology, 1992
     Medical School: University of North Carolina School of Medicine, MD, 1998
     Residency: University of Chicago Hospitals in Internal Medicine, 1998 – 2001
     Fellowship: Robert Wood Johnson Clinical Scholar, The University of Chicago, 2001-2003
     Fellowship: MacLean Center for Clinical Medical Ethics, University of Chicago 2003-2004
     Summer Institute for Survey Research Methods, University of Michigan – 2006
     Program in Palliative Care Education and Practice, Harvard University – 2008

BOARD CERTIFICATION
     Diplomate American Board of Internal Medicine 204781, 2001, 2011, 2022
     Hospice and Palliative Medicine Certification (ABIM), 2010, 2022

MEDICAL LICENSURE
     North Carolina License No: 2013-01944

MEMBERSHIPS
    American Medical Association
    American Society for Bioethics and Humanities

ACADEMIC APPOINTMENTS:
  Duke University
  2014 -          Josiah C. Trent Professor of Medical Humanities, Trent Center for Bioethics,
                  Humanities & History of Medicine
  2014 -          Professor of Medicine, Center for Palliative Care, Section of General Internal
                  Medicine, Department of Medicine
  2014 -          Professor and Co-Director, Theology, Medicine, and Culture Initiative, Duke
                  Divinity School (tmc.divinity.duke.edu)
  2017 -          Senior Fellow, Kenan Institute for Ethics

   The University of Chicago:
   2003 – 2005      Instructor of Medicine, Section of General Internal Medicine
   2003 – 2006      Associate Faculty, Robert Wood Johnson Foundation Clinical Scholars Program
   2004 – 2013      Faculty, the MacLean Center for Clinical Medical Ethics
   2005 – 2010      Assistant Professor of Medicine, Section of General Internal Medicine
   2009 – 2013      Co-Director, Program on Medicine and Religion (pmr.uchicago.edu)
   2010 – 2013      Associate Professor of Medicine, Section of General Internal Medicine

HONORS, AWARDS, SCHOLARSHIPS (selected)
  1989 Valedictorian, Jackson Central Merry High School, Jackson, TN
  1989 William Richardson Davie Scholar, University of North Carolina
  1992 Phi Beta Kappa, University of North Carolina – Chapel Hill
  1995 Herbert H. Fritz special merit award for scholastic excellence, UNC School of Medicine
  1995 North Carolina Albert Schweitzer Fellowship Award
  1995 Foreign Fellowship Award, UNC School of Medicine
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Farr A. Curlin, MD

   1997    Alpha Omega Alpha Honor Medical Society, UNC School of Medicine
   1998    Heusner Pupil Award, for showing “a great capacity to grasp the principles of science, to heal
           the sick, to comfort the troubled, to be humble before God.” UNC School of Medicine
   1998    Cecil G. Sheps Award in Social Medicine – chosen by the Department of Social Medicine as
           the graduating student who most embodies the department’s ideals, UNC School of Medicine
   1998    Terri Brenneman Award - for “the graduating student who has most demonstrated a
           commitment to the underserved.” UNC School of Medicine
   1998    Merck Award – chosen by the UNC faculty as one of four graduating students to be honored
           for their contributions to the medical school community, UNC School of Medicine
   2000    Norris L. Brookens Award – chosen by the state chapter of the American College of
           Physicians as the Most Outstanding Internal Medicine Resident in Illinois
   2003    John A. Oremus Memorial Scholar – MacLean Center for Clinical Medical Ethics, The
           University of Chicago
   2006    Greenwall Foundation Faculty Scholar in Bioethics (2006-2009)
   2007    Outstanding Physician Scientist Award. Central Society of Clinical Research and the
           Midwestern Section of the American Federation for Medical Research
   2008    Early Career Development Award. Central Society for Clinical Research
   2011    Arnold P. Gold Foundation Humanism in Medicine Award Nominee. Pritzker School of
           Medicine student body
   2012    David B. Larson Fellowship in Health and Spirituality, The Library of Congress
   2012    White Coat Ceremony Keynote Speaker, Pritzker School of Medicine, August 5
   2014    Gold Humanism Honor Society Induction Ceremony Keynote Speaker, Pritzker School of
           Medicine, Chicago, IL. March 13
   2017    Inaugural Robert D. Orr, MD, Lecture in Medical Ethics, University of Vermont, October 27
   2018    The Steve Thorney Career Award for Spiritual Care, MD Anderson Cancer Center
   2018    Paul Ramsey Award for Excellence in Bioethics, Paul Ramsey Institute
   2019    Pellegrino Medal for Healthcare Ethics, Samford University
   2021    Inaugural Lisio Family Lecture (medical ethics). Columbia University
   2022    Educator of the Year, Christian Medical and Dental Associations
   2023    Englehardt Award (bioethics), The Ohio State University Center for Bioethics and Medical
           Humanities

REVIEW AND EDITORIAL EXPERIENCE
Ad hoc journal and book review
   Academic Medicine, American Journal of Bioethics, AJOB – Empirical Bioethics, American Journal
   of Hospice and Palliative Medicine, American Journal of Law and Medicine, American Journal of
   Psychiatry, Annals of Family Medicine, Annals of Internal Medicine, Archives of Internal Medicine,
   British Medical Journal, BMC Medical Education, Cancer, CHEST, CMAJ, Elsevier, Explore,
   Georgetown University Press, Harvard University Press, Health Affairs, International Journal of
   Psychiatry in Medicine, Johns Hopkins University Press, Journal of Christian Bioethics, Journal of
   Clinical Oncology, Journal of General Internal Medicine, Journal of Medical Ethics, Journal of
   Medicine and Philosophy, Journal of Oncology Practice, Journal of Pain and Symptom Management,
   Journal of Religion and Health, Journal of the Scientific Study of Religion, Lancet, Medical Care,
   Mayo Clinic Proceedings, Medical Journal of Australia, New England Journal of Medicine, Oxford
   University Press, Pediatrics, Perspectives in Biology and Medicine, Plos One, Social Science &
   Medicine, Southern Medical Journal, Stanford University Press, Theoretical Medicine and Bioethics,
   Zygon




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Farr A. Curlin, MD

Editorial experience
   2008        Guest editor of special issue of Theoretical Medicine and Bioethics, focused on
               conscience and clinical practice, published 2008
   2014 -      Editorial Board, Perspectives in Biology and Medicine
   2016        Guest editor of special issue of Christian Bioethics, focused on setting the medicine in
               the context of a good and faithful life
   2019        Guest editor of special issue of Theoretical Medicine and Bioethics, focused on defining
               and measuring death
   2019        Guest editor of special issue of Perspectives in Biology and Medicine, focused on
               disputes about conscience in medicine
   2023        Guest editor of special issue of Christian Bioethics, focused on moral and theological
               questions raised by medicalizing risk

CLINICAL PRACTICE
   2001 – 2003 Primary Care Internist, Lawndale Christian Health Center
   2003 – 2008 Primary Care Physician, University of Chicago Primary Care Group
   2003 – 2013 General Internal Medicine attending physician. University of Chicago Hospitals.
   2004 – 2013 Ethics consult service, University of Chicago
   2008 – 2013 Associate Medical Director – Horizon Hospice Care, Chicago, IL
   2008 – 2013 Palliative Medicine Consult Service. University of Chicago Hospital
   2014 –      Attending physician. Duke Hospice and Palliative Care

ADMINISTRATIVE LEADERSHIP / COMMITTEE WORK (selected)
  2000 – 2003 Best Practices Project Steering Committee. The US Bureau of Primary Health Care
              and the Christian Community Health Fellowship
  2003        Working group on the ethics of spirituality in medicine. George Washington Institute
              for Spirituality and Health and the Association of American Medical Colleges
  2006 – 2008 Ethics Research Group. Division of Standards and Survey Methods. Joint Commission
              on Accreditation of Healthcare Organization
  2008 – 2013 Founding Co-Director (with Daniel Sulmasy, MD, PhD), Program on Medicine and
              Religion, The University of Chicago. https://pmr.uchicago.edu
  2010 – 2015 The Witherspoon Council on Ethics and the Integrity of Science. Member.
  2012 – 2015 Bioethics and Christian Theology Affinity Group, Founding Co-Director (with Jeffrey
              Bishop). American Society for Bioethics and Humanities
  2014 –      Co-Director (with Warren Kinghorn, MD, ThD), Theology, Medicine, and Culture
              Initiative (TMC), Duke Divinity School. https://tmc.divinity.duke.edu
  2017 – 2020 Founding Director, Arete Initiative, Kenan Institute for Ethics, Duke University
  2018 – 2021 Provost’s Advisory Committee for Online Education, Duke University
  2021 – 2023 President’s Advisory Committee on Institutional History, Duke University

INVITED EXTRAMURAL PRESENTATIONS (selected)

    1.    Wabash College. February 23, 2004. Crawfordsville, IN
    2.    Loyola University School of Law. March 21, 2004. Chicago, IL
    3.    Christian Community Health Fellowship Conference (keynote). Atlanta, GA, May 21, 2004.
    4.    Spirituality and Healthcare Dialogue. The University of Texas Medical Branch. March 30,
          2005. Galveston, TX.
    5.    God in the clinic: Religion, medicine, and the dilemmas of “patient-centered care.” Lee
          University, Cleveland, TN, October 4, 2005.



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Farr A. Curlin, MD

   6.    Getting below the surface: The ethics of religious/spiritual interaction in the clinical encounter.
         Duke University, Durham, NC. October 6, 2005.
   7.    Program in Genetic Counseling. Northwestern University, February 6, 2006.
   8.    Duke University Center for Theology and Medicine, Durham, NC, June 22, 2006.
   9.    Annual Faith in Medicine Conference, (keynote) The Faith and Medicine Institute, Boston,
         MA, September 2, 2006.
   10.   Spirituality/Medicine Interface Conference (keynote). Southern Medical Association. Atlanta,
         GA, September 14-16, 2006.
   11.   Sr. Alice Potts Endowed Lectureship for Spirituality and Medicine, MD Anderson Cancer
         Center, Houston, TX, October 30, 2006.
   12.   4th Annual Vincent C. DeStefano Memorial Conference. Memorial Hospital. South Bend,
         Indiana. June 13, 2007.
   13.   University of Michigan Ethics Conference, Ann Arbor, March 11, 2008.
   14.   Louise Kingston Endowed Lectureship in Spirituality and Medicine. Princeton University
         Medical Center, Princeton, NJ. April 1, 2008.
   15.   American Medical Association, Division of Medical Ethics. Chicago. May 30, 2008.
   16.   Christian Medical and Dental Associations National Conference (keynote). Bloomingdale, IL.
         June 19, 2008.
   17.   Patient Rights vs. Doctor Conscience. DeVos Medical Ethics Colloquy. (keynote, along with R.
         Alta Charo). Grand Rapids, MI. September 8, 2008.
   18.   Conscience and clinical practice. President’s Council on Bioethics. September 11, 2008.
         https://bioethicsarchive.georgetown.edu/pcbe/transcripts/sept08/session3.html
   19.   The Role of Conscience in Medicine. (keynote) Center for Law, Health & Society, Georgia
         State University. Atlanta, GA. October 9, 2008
   20.   Religion, Science, and the Moral Life of Medicine. (keynote) Sentara 2008 Ethics Conference.
         Williamsburg, VA. November 7, 2008.
   21.   Controversial Bodies: How to View and Think about Plastinated Corpses. (keynote) University
         of Kansas Medical School and Center for Practical Bioethics. Kansas City, MO. December 5,
         2008.
   22.   Medicine Grand Rounds, University of Saskatchewan College of Medicine, Saskatoon, CA.
         January 9, 2009.
   23.   David Larson, MD, Memorial Lecture, Society for Spirituality, Theology and Medicine Annual
         Conference. Durham, NC. June 5, 2009.
   24.   Veritas Forum. Mayo Clinic, Rochester, MN. September 23, 2009.
   25.   8th Annual Contemporary Catholic Healthcare Ethics Conference. Stritch School of Medicine
         at Loyola University. October 9, 2009. Chicago, IL
   26.   Florida Hospital Annual Conference on Spirituality and Medicine. March 25, 2010. Orlando,
         FL
   27.   Spirituality and Medicine Conference. Brody School of Medicine. April 1, 2010. Greenville,
         NC
   28.   The Lupina Centre for Spirituality, Healthcare and Ethics at Regis College, University of
         Toronto. October 15/16, 2010
   29.   Children's of Minnesota Westgate Pediatric Ethics Forum, Minneapolis, MN. November 12,
         2010
   30.   Grand Rounds. Methodist Hospital, and Lecture in the Religion and Public Life Program.
         James Baker Institute for Public Policy. Houston, TX. December 3, 2010.
   31.   International Institute of Restorative Reproductive Medicine (IIRRM). Dublin, Ireland. March
         26, 2011.
   32.   Terminal Sedation and Active Euthanasia: What are the Boundaries? 3rd Annual Bioethics
         Symposium. (keynote) University of Wisconsin. Madison, WI. April 7, 2011



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Farr A. Curlin, MD

   33.   Where Religion, Policy, and Bioethics Meet: An Interdisciplinary Conference on Islamic
         Bioethics and End-of-Life Care. (keynote) University of Michigan. Ann Arbor, April 10, 2011
   34.   Religion, Spirituality, and Mental Health (keynote). Loyola University Chicago. April 12, 2012
   35.   Kluge Center, United States Library of Congress, Washington, DC. June 28, 2012
   36.   26th Annual A. Kurt Weiss Lecture in Biomedical Ethics, University of Oklahoma Health
         Sciences Center. September 27, 2012
   37.   Turner Conference on Faith and Medicine (keynote), Muncie, IN. October 10, 2012
   38.   Allen M. Boyden, M.D, Memorial Lecture. Providence St. Vincent Medical Center. Portland,
         OR. November 8, 2012
   39.   Speaking About the End of Life, Spiritual, Religious and Community Conversations (keynote).
         Mount Sinai Medical Center & Greater Miami Jewish Federation. December 4, 2012
   40.   Ethics Grand Rounds. Loyola University Medical Center. January 8, 2013
   41.   Workshop on Comparative Studies of Religion and Values among Healthcare Professionals.
         Freiburg Institute of Advanced Studies. Germany. February 20-22, 2013
   42.   28th Annual Notre Dame Medical Ethics Conference. Notre Dame, IN. March 8-10, 2013
   43.   Trent Center Lecture on Medical Humanities, Duke University. Durham, NC, April 17, 2013
   44.   Reverend Edward J. Drummond, S.J. Lecture, Medicine Grand Rounds, Saint Louis University.
         May 10, 2013
   45.   Association of Professional Chaplains national webinar journal club. May 14, 2013
   46.   Institute of Medicine. Committee on Approaching Death: Addressing Key End of Life Issues.
         Houston. July 22, 2013
   47.   Spirituality and Ethics in Health Care (keynote speaker). Catholic Health Partners. Cincinnati,
         OH. October 3, 2013
   48.   Institute for Ethics and Culture Annual Conference. Notre Dame University. November 9, 2013
   49.   Loyola University Annual Medical Ethics Conference. March 13, 2014
   50.   Notre Dame Annual Medical Ethics Conference. March 21-23, 2014
   51.   Physician Well-Being Conference. Adventist Health Care. Jacksonville, FL. April 11, 2014
   52.   4th European Conference on Religion, Spirituality and Health (Keynote). Malta. May 23, 2014
   53.   Harvard Lecture Series on Spirituality and Medicine, Harvard University. November 17-18,
         2014
   54.   Medicine Grand Rounds. Medical College of Virginia. Richmond, VA, February 19, 2015
   55.   Institute for Faith and Learning. Baylor University. Waco, TX. September 11, 2015
   56.   Annual Conference. MacLean Center for Clinical Medical Ethics. November 14, 2015
   57.   2016 Conference on Medicine and Religion. Houston, TX. March 4, 2016.
   58.   Reimagining Medicine Conference. Denver Institute for Faith and Work. April 6, 2016
   59.   Hagop S. Mekhjian Lecture. The Ohio State University. Columbus, OH. September 15, 2016
   60.   Ohio State University Center for Bioethics Annual Conference. September 16-17, 2016
   61.   The Basil Society. UT Southwestern. Dallas, TX. September 24, 2016
   62.   What is the place of sedation in care at the end of life? (symposium). The University of
         Chicago. October 14, 2016
   63.   2016 MedConference. Florham Park, NJ. October 15, 2016
   64.   Medical Ethics Grand Rounds. UNC School of Medicine. Chapel Hill, NC. November 3, 2016
   65.   Schiltz Lecturer in the Medical Humanities, University of Kansas School of Medicine. Wichita,
         KS. January 12-13, 2017
   66.   Weston Lecture. Augustine College. Ottowa, ON. March 16, 2017
   67.   35th Annual MacLean Center Interdisciplinary Seminar Series on Reproductive Ethics. The
         University of Chicago. April 26, 2017
   68.   Z. Stanley Stys Memorial Lecture. Princeton University Medical Center. May 23, 2017
   69.   Robert D. Orr, MD, Lectureship. University of Vermont. October 27, 2017




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   70.  Gender Transition Services: Progress or Medical Hubris? The 29th Annual Dorothy J.
        MacLean Fellows Conference on Clinical Medical Ethics, University of Chicago. November
        10, 2017
   71. Grand Rounds, Department of Pediatrics. University of Illinois. Chicago, January 5, 2018
   72. Grand Rounds, Department of Medicine, Medical College of Georgia. January 9, 2018
   73. The Steve Thorney Life Career Award and Lecture in Spiritual Care, MD Anderson Cancer
        Center, Houston, TX, February 9, 2018
   74. Provonsha Lecture. Loma Linda University. March 2, 2018
   75. Thomistic Institute. Harvard University. April 23, 2018
   76. Grand Rounds, Department of Obstetrics and Gynecology, Vanderbilt University. May 5, 2018
   77. Holy Friendship Summit, Bristol, TN. May 18-19, 2018
   78. Commencement Address. Trinity Academy of Raleigh. Raleigh, NC. May 26, 2018
   79. Grand Rounds, Department of Medicine, Texas Tech University. November 8, 2018
   80. Physician Assisted Suicide and Euthanasia: Theological and Ethical Responses (symposium):
        Georgetown University. November 9, 2018
   81. Affirming Ethical Options for the Terminally Ill. Heritage Foundation. Washington, DC. March
        11, 2019
   82. Bioethics Grand Rounds. National Institutes of Health. April 3, 2019
   83. Grand Rounds. Biomedical Ethics Research Program. Mayo Clinic. April 30, 2019
   84. Center for Ethics and Culture, Notre Dame University. May 13, 2019
   85. HEAL Institute, Samford University Center for Faith and Culture, September 6, 2019
   86. King Institute for Faith and Culture, King University, Bristol, TN, September 16-17, 2019
   87. 88th Annual Educational Conference. Catholic Medical Association. Nashville, TN. September
        26, 2019
   88. Thomistic Institute. Queen’s University School of Medicine. Kingston, Ontario. October 9,
        2019
   89. Lehman Lecture in Medical Ethics. Allegheny College, Meadville, PA. February 18, 2020
   90. Carol Carfang Nursing & Healthcare Ethics Conference. Tampa, FL. February 28, 2020
   91. School of Civic and Economic Thought and Leadership. Arizona State University. June 15,
        2020
   92. McDonald Centre for Theology, Ethics & Public Life. Oxford University, UK. September 4,
        2020
   93. Hoover Lecture, York Hospital. York, PA. September 17, 2020
   94. Program in Medical Ethics, Humanities, and Law. Western Michigan University Homer Stryker
        M.D. School of Medicine. October 7, 2020
   95. 2021 Scholar in Residence. Union University. March 8-12.
   96. Character and the Professions Conference (panelist). Wake Forest University. March 13, 2021
   97. Inaugural Lisio Family Endowed Lectureship. Columbia University School of Medicine.
        September 20, 2021
   98. Thomistic Institute, Yale University. November 3, 2021
   99. MacLean Conference on Clinical Medical Ethics, University of Chicago, November 13, 2021
   100. Thomistic Institute, Johns Hopkins Medical Institute, November 15, 2021
   101. Maurice B. Siegel, M.D., Lecturer in Humanism and Medicine. Cedar’s Sinai. January 19, 2022
   102. John Collins Harvey Lecture, Pellegrino Center for Clinical Ethics, Georgetown University,
        February 25, 2022
   103. Foglio Lecturer, Michigan State University School of Medicine. March 22-23, 2022
        (rescheduled—now pending new date)
   104. Veritas Forum at Harvard Medical School, May 23, 2022
   105. Celebrating and Defending the Freedom to Care, Christian Medical and Dental Associations,
        Washington, D.C. January 2023



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   106. Conditions for corrosion: how are just healthcare practitioners made and lost? University of
        Oxford McDonald Centre for Theology, Ethics and Public Life, Oxford, UK. June 27-29, 2023
   107. Detransitioners, civil discourse, and the silence of clinical ethics. Annual Interdisciplinary
        Lecture Series, MacLean Center for Clinical Medical Ethics, University of Chicago. November
        14, 2023

PEER-REVIEWED PRESENTATIONS AT SCHOLARLY MEETINGS
   1. Holism or Evangelism? A consideration of religion in medicine. [Special session]. Robert Wood
       Johnson Clinical Scholars Program National Conference. Ft Lauderdale, FL, November 22, 2003.
   2. Religion and Health: Theological Limits and Concerns. [Panel presentation] American Society
       for Bioethics and Humanities. National Conference. Denver, CO. October 27, 2006.
   3. Religion, Conscience, and Controversial Clinical Practices. Central Society for Clinical
       Research/Midwestern Section American Federation for Medical Research. [Chosen as the top
       observational science abstract.] April 13, 2007. Chicago, IL.
   4. Does Conscience Have a Place in the Healthcare Encounter? [Panel presentation] American
       Society for Bioethics and Humanities. National Conference. Washington, DC. October 19. 2007
   5. Social and Ethical Implications of Supporting or Limiting a Right of Conscientious Refusal for
       Health Care Providers. [Panel presentation] American Society for Bioethics and Humanities.
       National Conference. October 15, 2009. Washington, DC.
   6. Whose outcomes? Which notion of health? Ethical issues in the measurement of religious
       experience and its relation to health. [Panel presentation] American Society for Bioethics and
       Humanities. National Conference. Washington, DC. October 18, 2009.
   7. Empirical research in bioethics: A toolkit for beginners. Pre-conference workshop. American
       Society for Bioethics and Humanities. National Conference. San Diego, CA. October 21, 2010
   8. Serving two masters? [Panel presentation] American Association for Hospice and Palliative
       Medicine Annual Assembly. February 11,2011
   9. Representing death, anticipating the corpse [Panel presentation]. American Society for Bioethics
       and Humanities. National Conference. Washington, DC. October 19, 2012
   10. Towards a new art of dying [Panel session]. 2013 Conference on Medicine and Religion.
       Chicago, IL. May 29, 2013
   11. Is traditional inpatient bioethics suited to outpatient settings? [panel] American Society for
       Bioethics and Humanities. National Conference. Atlanta, GA. October 26, 2013.
   12. Among all physicians, is there a physician? Irony and the practice of medicine. American Society
       for Bioethics and Humanities. National Conference. Atlanta, GA. October 26, 2013.
   13. "Do not be anxious ... about your body." Assessing contemporary primary care in light of the
       Sermon on the Mount. 2014 Conference on Medicine and Religion. Chicago, IL. March 8, 2014
   14. Pharmacist on the execution team [panel]. American Society for Bioethics and Humanities.
       National Conference. San Diego. October 18, 2014.
   15. Project on the Good Physician: Relevance of the Rationalist-Intuitionist Debate for Ethics and
       Professionalism in Medical Education. American Society for Bioethics and Humanities. National
       Conference. San Diego. October 18, 2014.
   16. Can Religion Find Its Voice at a Secular Deathbed? [panel] 2016 Conference on Medicine and
       Religion. Houston, TX. March 4-6.
   17. Doctor's Beliefs and Medical Practices: Transatlantic Comparisons. [panel] 2016 Conference on
       Medicine and Religion. Houston, TX. March 4-6.
   18. The Religion and Medicine of the Future: An Orthodox Critique of Scientific Theology and
       Ecumenism. [panel] 2016 Conference on Medicine and Religion. Houston, TX. March 4-6.
   19. Reimagining Medicine: Theological Formation for Those with Vocations to Health Care. [panel]
       2017 Conference on Medicine and Religion. Houston, TX. March 25.
   20. Solidarity with the suffering: Why physicians, as physicians, must oppose assisted suicide.
       International Congress on Law and Mental Health. Prague, Czech Republic. July 11, 2017


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   21. Searching for a Foundation for Medicine that Christians Share with those who are not Christians
       [panel]. 2018 Conference on Medicine and Religion. St. Louis, MO. April 14.
   22. Remembrance, Resilience, and Religious Formation in Medical Education: Two Case Studies
       [panel]. American Society for Bioethics and Humanities. National Conference. Pittsburgh.
       October 27, 2019
   23. Improving Palliative and End-of-Life Care for African Americans: Remembering Dr. Richard
       Payne. [panel]. American Society for Bioethics and Humanities. National Conference. Pittsburgh.
       October 25, 2019
   24. Is there a future for Hippocratic medicine? (panel) 2021 Conference on Medicine and Religion.
       March 23
   25. Healing and Economy: The Question of Charity in a Secular Age (panel). 2021 Conference on
       Medicine and Religion. March 22
   26. “Sufficient for the day is its own trouble”: Medicalizing risk and the way of Jesus. 2022
       Conference on Medicine and Religion. March 22
   27. Secular medicine in the saeculum: An honored but humble servant. 2023 Conference on Medicine
       and Religion. March 13
   28. Still Searching for Moral Certainty? The Physician-Patient Accommodation after 40 Years. 2023
       Conference on Medicine and Religion. March 15


CONFERENCES DIRECTED
  2008 Conscience and Clinical Practice: Medical Ethics in the Face of Moral Controversy. Hosted
         at the University of Chicago, March 18
  2011 Practice and Profession: Setting Medicine in the Context of a Good and Faithful Life.
         University of Chicago, November 10.
  2012 Responding to the Call of the Sick: Inaugural Conference on Medicine and Religion. May 23-
         25. Chicago. (with Daniel Sulmasy, MD, PhD)
  2012 Judaism, Medicine, and the Formation of Clinicians. September 10, 2012. The University of
         Chicago (with Daniel Sulmasy, MD, PhD)
  2013 What Does it Mean to Care? 2013 Conference on Medicine and Religion. Chicago. May 28-
         30. (with Daniel Sulmasy, MD, PhD)
  2014 Responding to the limits and possibilities of the body. 2014 Conference on Medicine and
         Religion. Chicago. March 7-9. (with Daniel Sulmasy, MD, PhD)
  2015 Spiritual Dimensions of Illness and Healing. 2015 Conference on Medicine and Religion.
         Cambridge, MA, March 6-8. (with Daniel Sulmasy, MD, PhD, and Michael Balboni, PhD)
  2016 Approaching the Sacred: Science, Health, and Practices of Care. 2016 Conference on
         Medicine and Religion. Houston, TX. March 4-6. (with Michael Balboni, PhD)
  2016 - Practice and Presence: A Gathering for Christians in Health Care. Duke Divinity School.
         Durham, NC. (annual three day conference, with Warren Kinghorn, MD, PhD)
  2017 Re-Enchanting Medicine. 2017 Conference on Medicine and Religion. Houston, TX. March
         24-26. (with Michael Balboni, PhD)
  2019 Theological Approaches to Persons in Pain. J.B. Duke Hotel & Conference Center. Durham,
         NC. March 28.
  2019 "My pain is always with me"; Medicine & Faithful Responses to Suffering. 2019 Conference
         on Medicine and Religion. JB Duke Hotel & Conference Center. Durham, NC. March 29-31.
  2021 2021 Conference on Medicine and Religion (Virtual). March 22-24.
  2022 2022 Conference on Medicine and Religion, The Nines Hotel, Portland, OR. March 13-15.




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   2022    Questioning Preventive Medicine: Is a Pound of Prevention Worth an Ounce of Cure? Duke
           University. May 17.

TEACHING EXPERIENCE AND CURRICULUM DEVELOPMENT (selected)
  Undergraduates
  2006           Things, bodies, persons: Human goods in the technological era. Big Problems
                 Course, The University of Chicago. (faculty, with J Lantos and D Brudney)
  2022 -         Medicine and Human Flourishing. Course for sophomores in “Transformative
                 Ideas” series. Worked with primary instructor, Jose Gonzalez, to design course.

   Medical Students
   2002, 2003    Medicine and Spirituality Course. University of Chicago. (guest lecture)
   2002, 2003    National Wit Education Initiative. Discussion group facilitator.
   2003 – 2013   Cultural competence in medicine. Preceptor
   2004 – 2006   Committee for Medical Student Retreats, Co-created and co-directed sessions on
                 humanism and medicine (90 students/session).
   2004          Essentials of Physicianship. MS1 course. Small Group facilitator/instructor
   2004, 2005    Spirituality and Healing in Medicine. medical student elective (course co-director).
   2004, 2006    Clinical Skills 1C course. (lecture: Religion and the doctor-patient relationship).
   2005 – 2013   Summer Research Program. (faculty mentor to 10 medical students)
   2005 – 2013   Death, dissection, and doctor formation. (Annual lecture before MS1 cadaver lab)
   2005 – 2013   Doctor-Patient Relationship course. (Core faculty and lecturer)
   2010 – 2013   Physician Development and Formation. (Co-director of required small group
                 discussion component of MS1 Gross Anatomy course)
   2015 – 2019   MS2 Practice Course. Teach session(s) on the ethics of clinical decision-making, and
                 on religion, spirituality, and medicine
   2019 –        Clinical Medical Ethics: What Would a Good Physician Do? (annual 8-week
                 elective, now co-taught with Dr. Josh Briscoe)

   Residents
   2004 – 2013     Internal Medicine Residency Morning Report. (Faculty discussant for 55 total
                   sessions over 9 years, focused on cases with clinical ethical complexity)

   Fellows
   2004-5, 2007    Research Proposal Design Workshop. Co-directed summer workshop for fellows in
                   health services research and ethics.
   2004 – 2013     MacLean Center for Clinical Medical Ethics Fellowship. Taught three sessions/year
   2006 – 2013     Religious Traditions and Clinical Ethical Decisions. (director of annual, quarter-long
                   seminar for fellows in clinical medical ethics and interested medical students)
   2010 – 2013     Summer Program in Outcomes Research Training. Teach 90-minute session for
                   clinical research fellows on Practical Survey Development and Design.

   Divinity Students
   2014           Healing Arts: Suffering, Illness, and the Witness of the Church. Duke Divinity
                  School. (course co-director, with Kinghorn and Barfield)
   2016 –         Health Care in Theological Context II (formerly Theological Bioethics). Semester-
                  length course. Duke Divinity School

GRANT FUNDING
Current:


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1. Forming Distinguished Scholars for Christ across Academic Medicine
PI: Kinghorn (Curlin Co-Investigator)            Agency: McDonald Agape Fund
                                                 Period: 1/1/23 – 12/31/26
This project gathers, mentors, and resources a network of outstanding colleagues from other major
academic medical centers seeking to renew medicine through attention to its theological dimensions.


Past:
1. The integration of religion and spirituality in patient care among US physicians
PI: Curlin and Chin                   Agency: The Greenwall Foundation
                                      Period: 07/01/02 – 06/30/04
Project conducted the first comprehensive national study of physician’s religious characteristics and how
those characteristics are associated with physicians’ clinical practices.

2. Religious commitments and clinical engagements
PI: Curlin                            Agency: NCCAM
Type: K23 AT002749-01A1               Period: 10/01/05 – 09/30/10
Project developed a mixed-methods framework for assessing the religion-associated variations in
physicians’ self-reported and self-predicted practices in different clinical domains.

3. Variance on the margins of religion and medicine
PI: Curlin                           Agency: The Greenwall Foundation
                                     Period: 07/01/06 – 06/30/09
[Greenwall Foundation Faculty Scholar in Bioethics] Project refined a methodology for assessing
religion-associated variance in physicians’ self-reported and self-predicted practices, and applied that
methodology to assess variations in physicians’ approaches to sexual and reproductive health care.

4. Conscience and Clinical Practice: Medical Ethics in the Face of Moral Controversy
PI: Curlin                           Agency: The Greenwall Foundation
                                     Period: 01/01/08 – 06/30/09
Grant supported a conference on the place of the clinician’s conscience in ethical practice, held at the
University of Chicago on March 18, 2008.

5. The Chicago Program on Spirituality, Theology and Clinical Decision-Making
PI: Curlin                           Agency: The John Templeton Foundation
                                     Period: 10/01/08 – 09/30/12
This project established the Program on Medicine and Religion at the University of Chicago and
supported four national physician surveys to assess religion-associated variations in physicians’ practices
related to 1) sexual and reproductive health care, 2) primary care mental and behavioral health care, 3)
decision-making in advanced illness and end of life care, and 4) the doctor patient relationship and
meaning in medicine.

6. Project on the Good Physician: A New Science of Virtues
PI: Curlin                          Agency: Arete Initiative, The University of Chicago
                                    Period: 3/1/10 – 2/28/12




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This grant supported a national longitudinal study of the moral and professional formation of American
physicians over the course of medical training

7. Physician Heal Thyself: The University of Chicago Medicine and Religion Faculty Scholars Program
PI: Sulmasy (Curlin Co-PI)               Agency: The John Templeton Foundation
                                         Period: 7/1/12-6/30/15
Project established a Faculty Scholars Program in Medicine and Religion, funding eight junior faculty
nationwide at 50% effort for two year tenures.

8. Toward Policies that Accommodate the Concerns of African Americans in Resolving Disputes about
the Use of Life-Sustaining Technology
PI: Johnson (Curlin Co-I)                Agency: Greenwall Foundation
                                         Period: 3/1/2015 – 2/29/2017
This project examined the attitudes of African Americans toward futile treatments and futility policies.

9. Training Research-Literate Chaplains as Ambassadors for Spirituality and Health
PI: Fitchett and Cadge (Curlin Co-I)     Agency: John Templeton Foundation
                                         Period: 7/1/2015 - 6/30/19
This project advanced research literacy among the nation’s health care chaplains.

10. Toward Effective Cooperation between Clinical and Other Community Stakeholders Committed to
Stemming the Opioid Epidemic
PI: Curlin (McCarty Co-PI)                         Agency: The Greenwall Foundation
                                                   Period: 7/1/2019 – 6/30/2022
This project aims to 1) describe the barriers to institutional collaboration among those responding to the
opioid epidemic; and 2) create policy recommendations for effective collaboration in efforts to stem the
opioid epidemic.

11. The Arete Initiative at Duke University’s Kenan Institute for Ethics
PI: Curlin                                         Agency: Foundation for Excellence in Higher Education
                                                   Period: 7/1/17 – 6/30/21
The Arete Initiative sponsors scholarship and learning opportunities focused on recovering and sustaining
the virtues in contemporary life, especially in the workplace, the university, and the public square.

12. Fellowship in Theology, Medicine, and Culture
PI: Kinghorn (Curlin Co-Investigator)               Agency: The Issachar Fund
                                                    Period: 7/1/15 – 12/31/22
Project invites students and practitioners in health professions, as well as others with full-time vocations
to health-related contexts, to participate in a program of theological formation that will equip them for
faithful, disciplined, and creative engagement with contemporary practices of health care.

13. Out of Our Meds? Building a Theological and Moral Framework for the Use of Medications
PI: Kinghorn (Curlin Co-Investigator)            Agency: McDonald Agape Fund
                                                 Period: 2016 – 2022
This project conducts a series of five annual symposia on theological, ethical, and clinical questions
raised by pharmaceutical prescribing.

PUBLICATIONS
Original peer-reviewed scholarship




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Books
Curlin FA, Tollefsen C. The Way of Medicine: Ethics and the Healing Profession. Notre Dame University
Press; 2021.

Papers
1. Iwashyna TJ, Curlin FA, Christakis NA. Racial, ethnic and affluence differences in elderly patients'
   use of teaching hospitals. J Gen Int Med. 2002;17(9):696-703.
2. Hall DE, Curlin F, Koenig HG. When clinical medicine collides with religion. Lancet. 2003;362:S28-
   S29
3. Hall DE, Curlin FA. Can physicians’ care be neutral regarding religion? Academic Medicine.
   2004;79:677-679.
4. Curlin FA and Moschovis PP. Is religious devotion relevant to the doctor-patient relationship?
   Journal of Family Practice. 2004;53(8):632-640.
5. Curlin FA, Roach CJ, Gorawara-Bhat R, Lantos JD, Chin MH. When patients choose faith over
   medicine: Physician perspectives on religiously related conflict in the medical encounter. Archives of
   Internal Medicine. 2005;165(1):88-91
6. Curlin FA, Hall DE. Strangers or friends? A proposal for a new spirituality-in-medicine ethic. J Gen
   Intern Med. 2005;20(4):370-374.
            Editorial: Scheurich N. Spirituality, Medicine, and the Possibility of Wisdom. J Gen Intern
            Med. 2005;20(4):379-380.
7. Curlin FA, Lantos JD, Roach CJ, Sellergren SA, Chin MH. Religious characteristics of U.S
   physicians: A national survey. J Gen Intern Med. 2005;20(7):629-634.
8. Curlin FA, Roach CJ, Gorawara-Bhat R, Lantos JD, Chin MH. How are religion and spirituality
   related to health? A study of physicians’ perspectives. South Med J. 2005; 98(8):761-6.
            Editorial: Daly CC. Religion and the attending physician's point-of-view. South Med J. 2005;
            98(8):759
9. Gee L, Smucker D, Chin M, Curlin FA. Partnering together? A study of current relationships between
   faith-based community health centers and local religious congregations. South Med J. 2005;
   98(12):1245-50
            Editorial: Flannelly KJ, Weaver AJ, Tannenbaum HP. What do we know about the
            effectiveness of faith-based health programs? South Med J. 2005; 98(12):1243-4.
10. Curlin FA, Hall DE. Regarding Plan B: Science and politics cannot be separated. Obstet Gynecol.
    2005;105(5):1148-50
11. Curlin FA, Chin MH, Sellergren SA, Roach CJ, Lantos JD. The association of physicians’ religious
    characteristics with their attitudes and self-reported behaviors regarding religion and spirituality in the
    clinical encounter. Med Care. 2006;44:446-53
12. Curlin FA. Spirituality and lifestyle: what clinicians need to know. South Med J. 2006;99:1170-1.
13. Curlin FA, Serrano K, Baker M, Carricaburu S, Smucker D, Chin MH. Following the call: How
    providers make sense of their decisions to work in faith-based and secular urban community health
    centers. J Health Care Poor Underserved. 2006;17(4):944-957
14. Curlin FA, Lawrence RE, Chin MH, Lantos JD. Religion, conscience, and controversial clinical
    practices. New England Journal of Medicine. 2007;356(6):593-600




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            Curlin FA, Lawrence RE, Lantos JD. Letters and author reply. Religion, conscience, and
            controversial clinical practices. N Engl J Med. 2007;356(18):1889-92
15. Curlin FA, Sellergren SA, Lantos JD, Chin MH. Physicians' observations and interpretations of the
    influence of religion and spirituality on health. Arch Intern Med. 2007;167(7):649-54
16. Curlin FA, Dugdale LS, Lantos JD, Chin MH. Do religious physicians disproportionately care for the
    underserved? Annals of Family Medicine. 2007;5(4):353-60.
17. Curlin FA, Odell S, Lawrence RE, Chin MH, Lantos JD, Meador KG, Koenig HG. The relationship
    between psychiatry and religion among US physicians. Psychiatr Serv 2007;58(9):1193-1198.
            Curlin FA, Meador KG, Koenig HG. Psychiatrists and religious belief: reply. Psychiatr Serv.
            2007;58(11):1500-1
18. Curlin FA, Lawrence RE, Odell S, Chin MH, Lantos JD, Koenig HG, Meador KG. Religion,
    spirituality, and medicine: psychiatrists' and other physicians' differing observations, interpretations,
    and clinical approaches. Am J Psychiatry. 2007;164(12):1825-31.
            Editorial: Eichelman B. Religion, spirituality, and medicine. Am J Psychiatry 2007;164:
            1774-1775
19. Lawrence RE, Curlin FA. Clash of definitions: Controversies about conscience in medicine.
    American Journal of Bioethics. 2007;7(12):10-4.
            Lawrence RE, Curlin FA. Response to eleven peer commentaries regarding "Clash of
            Definitions: Controversies about Conscience in Medicine". Am J Bioeth. 2007;7(12):1-2.
20. Curlin FA, Nwodim C, Vance JL, Chin MH, Lantos JD. To die, to sleep: US physicians’ religious and
    other objections to physician assisted suicide, terminal sedation, and withdrawal of life support. Am J
    Hosp Palliat Care. 2008;25(2):112-20.
21. Lantos JD, Curlin FA. Religion, conscience, and clinical decisions. Acta Paediatr. 2008;97(3):265-6.
22. Curlin FA, Dinner SN, Lindau ST. Of more than one mind: obstetrician-gynecologists' approaches to
    morally controversial decisions in sexual and reproductive healthcare. J Clin Ethics. 2008;19(1):11-
    21; discussion 22-3
            Published as Feature article with the following editorials: 1) Howe EG. When, if ever, should
            caregivers provide moral advice? 2) Pellegrino ED. Commentary on ‘Of More than One
            Mind.’ 3) Chervenak FA, McCullough LB. Professional responsibility and individual
            conscience, and 4) Kozishek D, Bogdan-Lovis E. Beliefs, boundaries, and self-knowledge in
            professional practice.
23. Ishibashi KL, Koopmans J, Curlin FA, Alexander K, Ross LF. Paediatricians' attitudes and practices
    towards HPV vaccination. Acta Paediatr. 2008;97(11):1550-6
24. Tilburt JC, Kaptchuk TJ, Curlin FA, Emanuel EJ, Miller FG. Prescribing "placebo treatments":
    results of national survey of US internists and rheumatologists. BMJ. 2008;337:a1938
25. Ishibashi KL, Curlin FA, Alexander K, Koopmans J, Ross LF. Pediatricians are more supportive of
    HPV vaccination than are members of the general public. South Med J. 2008;101(12):1216-21.
26. Tilburt JC, Curlin FA, Kaptchuk TJ, Clarridge B, Bolcic-Jankovic D, Emanuel EJ, Miller FG.
    Alternative medicine research in clinical practice: a US national survey. Arch Intern Med.
    2009;169(7):670-7.
27. Lawrence RE, Curlin FA. Autonomy, religion and clinical decisions: findings from a national
    physician survey. J Med Ethics. 2009;35(4):214-8.



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28. Curlin FA, Lawrence RE, Fredrickson J. An ethical façade? Medical students' miscomprehensions of
    substituted judgment. PLoS ONE. 2009;4(2):e4374.
29. Lawrence RE, Curlin FA. Physicians' beliefs about conscience in medicine: a national survey. Acad
    Med. 2009;84(9):1276-82.
30. Antiel RM, Curlin FA, James KM, Tilburt JC. Physicians’ beliefs and U.S. health care reform—A
    national survey. New England Journal of Medicine. 2009 Oct 1;361(14):e23. Epub 2009 Sep.
31. Curlin FA, Rasinski KA, Kaptchuk TJ, Emanuel EJ, Miller FG, Tilburt JC. Religion, clinicians, and
    the integration of complementary and alternative medicines. J Altern Complement Med.
    2009;15(9):987-94.
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   7. Sistersong v. State of Georgia, No. 2022-CV-367796 (Superior Ct., Fulton County, GA)




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